

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-57,874-05






TIMMIE GENE CROW, Relator


v.


 JUDICIAL DISTRICT COURT







ON APPLICATION FOR A WRIT OF MANDAMUS


FROM GRAYSON COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed an application for a writ of habeas corpus
in the 336th Judicial District Court of Grayson County, that more than 35 days have elapsed, and that
the application has not yet been forwarded to this Court.

	 In these circumstances, additional facts are needed.  The respondent, the judge of the 336th
District Court of Grayson County, is ordered to file a response with this Court by having the District
Clerk submit the record on such habeas corpus application, by submitting a copy of a timely filed
order designating issues to be investigated, McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App.
1992), by submitting a statement indicating the nature of any application filed by Relator that was
not filed pursuant to Article 11.07, Section 3 of the Texas Code of Criminal Procedure, or by
submitting a statement that no application by Relator has been filed.  Such response shall be
submitted within 30 days of the date of this order.  This application for a writ of mandamus is held
in abeyance pending compliance with this order.  


Filed: November 1, 2006

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